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                                                                               3
                Case: 17-10772 Date Filed: 05/24/2017 Page: 1
                                                                                      May 24, 2017

                           UNITED STATES COURT OF APPEALS                                          MIAMI
                              FOR THE ELEVENTH CIRCUIT
                              ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W.
                                            Atlanta, Georgia 30303

  David J. Smith                                                                    For rules and forms visit
  Clerk of Court                                                                    www.ca11.uscourts.gov


                                           May 24, 2017

  Steven M. Larimore
  U.S. District Court
  400 N MIAMI AVE
  MIAMI, FL 33128-1810

  Appeal Number: 17-10772-DD
  Case Style: Dontrell Stephens v. Ric Bradshaw, et al
  District Court Docket No: 9:14-cv-80425-BSS

  The enclosed copy of the Clerk's Entry of Dismissal pursuant to appellant's motion to dismiss is
  issued as the mandate of this court. See 11th Cir. R. 42-1(a).

  Sincerely,

  DAVID J. SMITH, Clerk of Court

  Reply to: Sandra Brasselmon, DD/lt
  Phone #: (404) 335-6181

  Enclosure(s)




                                                            DIS-3 Letter and Entry of Dismissal Vol
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                        IN THE UNITED STATES COURT OF APPEALS
                               FOR THE ELEVENTH CIRCUIT

                                           ______________

                                        No. 17-10772-DD
                                        ______________

  EVETT L. SIMMONS,

                                                  Interested Party - Appellant,

  DONTRELL STEPHENS,

                                                   Plaintiff - Appellant,

  versus

  RIC BRADSHAW,
  Sheriff of Palm Beach County, Florida,
  ADAMS LIN,
  Deputy Sheriff, individually,

                                                   Defendants - Appellees,

  PALM BEACH COUNTY SHERIFF'S OFFICE,

                                              Defendant.
                       __________________________________________


                          Appeal from the United States District Court
                              for the Southern District of Florida
                       __________________________________________

  ENTRY OF DISMISSAL: Pursuant to Appellants Evett L. Simmons and Dontrell Stephens's
  motion for voluntary dismissal, FRAP Rule 42 and 11th Cir. R. 42-1(a), the above referenced
  appeal was duly entered dismissed on this date, effective May 24, 2017.

                                        DAVID J. SMITH
                             Clerk of Court of the United States Court
                                of Appeals for the Eleventh Circuit

                            by: Sandra Brasselmon, DD, Deputy Clerk

                                                            FOR THE COURT - BY DIRECTION
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